Case 1:99-mc-09999 Document 439-8 Filed 05/23/24 Page 1 of 1 PageID #: 58019




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

PFIZER INC., PFIZER IRELAND                   )
PHARMACEUTICALS, and                          )
BRISTOL-MYERS SQUIBB COMPANY,                 )
                                              )
                     Plaintiffs,              )
                                              )
       v.                                     )   C.A. No. ______________
                                              )
APOTEX INC. and APOTEX CORP.,                 )
                                              )
                     Defendants.              )

                  PLAINTIFF BRISTOL-MYER SQUIBB COMPANY’S
                       RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, Plaintiff Bristol-Myers Squibb Company has no parent

corporation and no publicly held company owns 10% or more of its stock.

                                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                             /s/ Megan E. Dellinger
                                             ___________________________________
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 May 23, 2024
